Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 1 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 2 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 3 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 4 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 5 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 6 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 7 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 8 of 9
Case 4:12-cv-05953-YGR Document 1 Filed 11/20/12 Page 9 of 9
